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                  EXHIBIT 3
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINIOS,
                                    EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;           )
Maria Valencia and Jeremiah Jurevis;                  )      No. 18-cv-03424
              Plaintiffs,                             )
v.                                                    )      Honorable John Robert Blakey
                                                      )
Chicago Park District and City of Chicago,            )      Jury Demanded
             Defendants.                              )

                         PLAINTIFFS’ INITIAL MIDP DISCLOSURES

       Pursuant to the Standing Order for the Mandatory Initial Discovery Pilot (MIDP), Plaintiffs,

Protect our Parks, Inc., Charlotte Adelman, Maria Valencia and Jeremiah Jurevis, collectively

“Plaintiffs”, through their counsel, Roth Fioretti, LLC provides the following initial disclosures.

1.     State the names and, if known, the addresses and telephone numbers of all persons who
you believe are likely to have discoverable information relevant to any party’s claims or defenses,
and provide a fair description of the nature of the information each such person is believed to
possess.

          Plaintiff identifies the following persons they presently believe are likely to have

  discoverable information relevant to any party’s claims or defenses:

   Name/Contact                              Nature of Information
   Herb Caplan                               Knowledge of facts related to standing to maintain
   Protect Our Parks, available              the lawsuit, knowledge of the claims in the lawsuit,
   through Plaintiffs’ attorneys.            including the facts on which the claims are based,
                                             and the causes of action alleged in the complaint.


   Charlotte Adelman, available              Knowledge of facts related to standing to maintain the
   through Plaintiffs’ attorneys.            lawsuit, knowledge of the claims in the lawsuit,
                                             including the facts on which the claims are based.
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 Barack Obama                           Knowledge of his statements related to use of the
                                        Obama Center, and his platform to further his political
                                        agenda and that of his political party.

 Stephen Patton                         Knowledge of the Museum Act and drafting
 Corporation counsel City of            amendments to the Museum Act.
 Chicago

 The following persons from the     Knowledge of the allegations contained in Plaitnff’s
 Chicago Park District:             Complaint and Defendants’ Answer. Knowledge of
                                    the Park District’s transfer of property at issue to the
 Michael Kelly                      City of Chicago. Knowledge of the Park District’s
 (Michael.Kelly@chicagoparkdistrict construction activities related to the Obama
 .com) – CEO and Superintendent     Presidential Center.

 Patrick Levar
 (patrick.levar@chicagoparkdistrict.
 com) -- COO

 Heather Gleason
 (heather.gleason@chicagoparkdistri
 ct.com) – Director of Planning and
 Development
 The following persons from the         Knowledge of the allegations contained in Plaitnff’s
 Chicago Department of Planning         Complaint and Defendants’ Answer. Knowledge of
 and Development:                       roadway changes that must be made related to the
 David Reifman                          Obama Presidential Center, the cost of such changes,
 (David.Reifman@cityofchicago.org)      the Obama Center’s economic impact on the City of
 -- Commisssioner                       Chicago.

 Eleanor Gorski
 (Eleanor.Gorski@cityofchicago.org)
 – Associate Commissioner

 Abby Monroe
 (Abby.Monroe@cityofchicago.org)

 The following persons from the         Knowledge of the allegations contained in Plaitnff’s
 Chicago Department of                  Complaint and Defendants’ Answer. Knowledge of
 Transportation:                        roadway changes that must be made related to the
 Rebekah Scheinfeld                     Obama Presidential Center, the cost of such changes,
 (Rebekah.Scheinfeld@cityofchicago.     the Obama Center’s economic impact on the City of
 org) -- Commissioner                   Chicago.

 John Sadler
                                            2
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 (John.Sadler@cityofchicgo.org)--



 The following persons from the        Knowledge of the benefits to the Obama Foundation
 Obama Foundation:                     as a result of locating the Obama Presidential Center
 David Simas (dsimas@obama.org,        in Jackson Park, knowledge of the benefits to locating
 dsimas@obamapresidentialfoundati      the Obama Presidential Center in other locations
 on.org) CEO                           within the City of Chicago.

 Robbin Cohen (rcohen@obama.org,
 rcohen@obamapresidentialfoundati
 on.org) COO

 Michael Strautmanis
 (Mstrautmanis@obama.org,
 mstrautmanis@obamapresidentialf
 oundation.org); Roark Frankel
 (rfrankel@obama.org,
 rfrankel@obamapresidentialfounda
 tion.org )
 Jason Horwitz, Anderson Economic      Economic impact of locating the Obama Presidential
 Group, 20 S. Clark Street, Suite      Center at various locations within the City of Chicago.
 2110
  Chicago, Illinois 60603
  Phone: (312) 670-6810
 Representatives from the University   Knowledge of the contents of the bid package,
 of Chicago involved in drafting the   alternatives to locating the Obama Presidential Center
 UofC’s bid package related to the     in Jackson Park.
 Obama Presidential Center
 Representatives from the National     Review of Obama Presidential Center proposed for
 Park Service                          Jackson Park.


 Representative from Federal           Review of Obama Presidential Center proposed for
 Highway Administration                Jackson Park.


 Margaret Schmidt, co-president of     Impact of locating the Obama Presidential Center in
 Jackson Park Watch                    Jackson Park, and alternatives to Jackson Park
                                       location.




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   Charles Birnbaum, The Cultural            Impact of locating the Obama Presidential Center in
   Landscape Foundation                      Jackson Park, and alternatives to Jackson Park
                                             location.

   Ward Miller, Preservation Chicago         Impact of locating the Obama Presidential Center in
                                             Jackson Park, and alternatives to Jackson Park
                                             location.

   Nord Wennerstrom, The Cultural            Impact of locating the Obama Presidential Center in
   Landscape Foundation                      Jackson Park, and alternatives to Jackson Park
                                             location.



2.     State the names and, if known, the addresses and telephone numbers of all persons
who you believe have given written or recorded statements relevant to any party’s claims or
defenses. Unless you assert a privilege or work product protection against disclosure under
applicable law, attach a copy of each such statement if it is in your possession, custody, or
control. If not in your possession, custody, or control, state the name and, if known, the
address and telephone number of each person who you believe has custody of a copy.

       To the extent that the disclosure requires statements given specifically related to the

allegations contained in the lawsuit, Plaintiffs are not presently aware of any such written or

recorded statements. However, interviews and quotes have been made by various individuals

associated with the City of Chicago, Chicago Park District and the Obama Foundation that relate

to the allegations contained in this lawsuit. Such statements are contained in newspapers,

including but not limited to the Chicago Tribune and Chicago Sun Times.

3.     List the documents, electronically stored information (“ESI”), tangible things, land,
or other property known by you to exist, whether or not in your possession, custody or
control, that you believe may be relevant to any party’s claims or defenses. To the extent the
volume of any such materials makes listing them individually impracticable, you may group
similar documents or ESI into categories and describe the specific categories with
particularity. Include in your response the names and, if known, the addresses and telephone
numbers of the custodians of the documents, ESI, or tangible things, land, or other property
that are not in your possession, custody, or control. For documents and tangible things in
your possession, custody, or control, you may produce them with your response, or make
them available for inspection on the date of the response, instead of listing them. Production
of ESI will occur in accordance with paragraph C.2 below.

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Plaintiffs disclose the following categories of documents, as the volume of listing them

individually is impracticable:

      City of Chicago Ordinances and resolutions, including but not limited to City of Chicago
       Ordinance dated January 2015 (“2015 Ordinance”), and dated on or September 20, 2018
       and exhibits thereto (“2018 Ordinance”).
      Documents attached to Plaintiff’s Complaint.
      Documents referenced in Plaintiff’s Complaint.
      Documents related to Jackson Park, its design and historical significance.
      Documents related to the environmental impact of the Obama Presidential Center
       (“OPC”) in Jackson Park.
      Documents related to the City of Chicago and Chicago Park District’s work in Jackson
       Park after the filing of Plaintiff’s Complaint.
      Documents related to the Request for Proposal (“RFP”) issued by the Obama Foundation
       (“Foundation”) on or about September 15, 2014 related to the OPC.
      Documents related to the proposal submitted by the University of Chicago (“UofC”) in
       response to the RFP.
      Documents related to the impact on traffic as a result of the OPC, in possession of the
       City of Chicago and the Chicago Park District.
      Documents, including but not limited to communications, between the City and the
       Foundation regarding the OPC, in possession of the City of Chicago and the Chicago
       Park District.
      Documents, including but not limited to communications, between the City and the UofC
       regarding the OPC, in possession of the City of Chicago and the Chicago Park District.
      Documents, including but not limited to communications, between the City and the Park
       District regarding the OPC, in possession of the City of Chicago and the Chicago Park
       District.
      Documents related to Urban Park and Recreation Recovery Act grants for Jackson Park
       and documents related to the City of Chicago’s request that the National Parks Service
       approve amendments to those grant agreements, in possession of the City of Chicago and
       the Chicago Park District.
      Documents related to the change of boundaries of the OPC Site from the original location
       proposed in the 2015 Ordinance to the the site for the Obama Presidential Center as
       defined in the 2018 Ordinance (“OPC Site”), in possession of the City of Chicago and the
       Chicago Park District.
      Documents related to the analysis related to costs and expenses to the public regarding
       locating the OPC on the OPC Site, in possession of the City of Chicago and the Chicago
       Park District.
      Documents related to public or private benefits regarding locating the OPC on the OPC
       Site, in possession of the City of Chicago and the Chicago Park District.
      Documents related to an analysis of the benefits to the Foundation as a result of locating
       the OPC at the OPC Site, in possession of the City of Chicago and the Chicago Park
       District.
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    Documents related to an analysis of the benefits to the Foundation as a result of locating
     the OPC at any location in Chicago other than the OPC Site, in possession of the
     Foundation.
    Documents related to an analysis of the costs and expenses to the public regarding
     locating the OPC on the Washington Park Site, in possession of the City of Chicago and
     the Chicago Park District.
    Documents related to an analysis, including but not limited to public or private benefits,
     regarding locating the OPC on the Washington Park Site, in possession of the City of
     Chicago and the Chicago Park District.
    Documents related to an analysis related to the costs and expenses to the public regarding
     locating the OPC on the South Shore Cultural Center Site, in possession of the City of
     Chicago and the Chicago Park District.
    Documents related to an analysis, including but not limited to public or private benefits,
     regarding locating the OPC on the South Shore Cultural Center Site, in possession of the
     City of Chicago and the Chicago Park District.
    Documents related to related to the fair market value of the OPC Site, in possession of
     the City of Chicago and the Chicago Park District.
    Documents related to the real property proposed by the City to be designated as a
     replacement park property as a result of locating any buildings on the OPC Site, in
     possession of the City of Chicago and the Chicago Park District.
    Documents related to the real property proposed by the City to be designated as a
     replacement open space property as a result of locating any buildings on the OPC Site, in
     possession of the City of Chicago and the Chicago Park District.
    Documents related to reviews by the National Park Service related to the OPC Site, in
     possession of the City of Chicago and the Chicago Park District.
    Documents related to reviews by the Federal Highway Administration related to the OPC
     Site, in possession of the City of Chicago and the Chicago Park District.
    Documents related to roadway closures as a result of locating the OPC at the OPC Site,
     including but not limited to the economic impact and the impact on traffic, in possession
     of the City of Chicago and the Chicago Park District.
    Documents related to roadway closures as a result of locating the OPC at any location in
     Chicago, other than the OPC Site, including but not limited to the economic impact and
     the impact on traffic, in possession of the City of Chicago and the Chicago Park District.
    Documents related to an analysis or study related to environmental or other remediation
     necessary to accommodate the OPC on the OPC Site, in possession of the City of
     Chicago and the Chicago Park District.
    Documents related to the City’s incremental costs of remediating the OPC Site as
     referenced in the Environmental Remediation and Indemnity Agreement attached as
     Exhibit F to the 2018 Ordinance, in possession of the City of Chicago and the Chicago
     Park District.
    Documents related to the Foundation's concerns regarding the City’s lack of control over
     proposed park sites, as referenced on page 2 of the 2015 Ordinance, in possession of the
     City of Chicago and the Chicago Park District.


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    Covenants, restrictions, deeds, liens, encumbrances and grants related to Jackson Park, in
     possession of the City of Chicago and the Chicago Park District.
    Covenants, restrictions, deeds, liens, encumbrances and grants recorded on title to the
     OPC Site.
    Title commitments or title reports related to the OPC Site, in possession of the City of
     Chicago and the Chicago Park District.
    Documents related to the cost to the City as a result of locating the OPC at the OPC Site,
     in possession of the City of Chicago and the Chicago Park District.
    Documents related to the cost to the Park District as a result of locating the OPC at the
     OPC Site, in possession of the City of Chicago and the Chicago Park District.
    Documents related to the cost to the State of Illinois as a result of locating the OPC at the
     OPC Site, in possession of the City of Chicago and the Chicago Park District.
    Documents related to the reason why the Presidential Center will not include a
     “Presidential Library,” as defined in The Presidential Library Act of 1955, in possession
     of the City of Chicago and the Chicago Park District.
    Documents related to the OPC’s compliance with the Illinois Park District Aquarium and
     Museum Act, 70 ILCS 1290/0.01 et seq. (“Museum Act”), in possession of the City of
     Chicago and the Chicago Park District.
    Documents related to drafts of the Amendment to the Museum Act, in possession of the
     City of Chicago and the Chicago Park District.
    Documents related to lobbying related to amending the terms of the Museum Act, in
     possession of the City of Chicago and the Chicago Park District.
    Documents related to communications regarding the Amendment to the Museum Act, in
     possession of the City of Chicago and the Chicago Park District.
    Documents, including communications, to or from the Foundation related to the Museum
     Act, in possession of the City of Chicago and the Chicago Park District.
    Documents, including communications, to or from the UofC related to the Museum Act,
     in possession of the City of Chicago, the Chicago Park District and UofC.
    Documents related to the City’s involvement with the Amendment to the Museum Act, in
     possession of the City of Chicago and the Chicago Park District.
    Documents related to the amendments to the Museum Act enacted in the year 2016’s
     declaration that “The changes made to this Section by this amendatory Act of the 99th
     General Assembly are declaratory of existing law and shall not be construed as a new
     enactment,” in possession of the City of Chicago and the Chicago Park District.
    Documents related to soil tests related to the OPC Site, in possession of the City of
     Chicago and the Chicago Park District.
    Documents related to soil tests related to the Washington Park Site, in possession of the
     City of Chicago and the Chicago Park District.
    Documents related to the Foundation paying real estate taxes related to the Obama
     Center, in possession of the City of Chicago and the Chicago Park District.
    Documents related to the fair market value of the land to be dedicated for use of the OPC
     Site, in possession of the City of Chicago and the Chicago Park District.


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      Documents related to any real property of substantially equal or greater value than the
       OPC Site to be conveyed in exchange for the Foundation controlling the OPC Site, in
       possession of the City of Chicago, the Chicago Park District and the Foundation.
      Documents related to the Department of Homeland Security providing security for the
       OPC, in possession of the City of Chicago and the Chicago Park District.
      Documents related to the reason why the 2018 Ordinance proposed a “Use Agreement,”
       as opposed to a lease referenced in the 2015 Ordinance, in possession of the City of
       Chicago and the Chicago Park District.
      Documents related to the University of Illinois, Chicago’s response to the RFP.
      Documents, including but not limited to communications, between the City and the
       Foundation regarding the OPC.
      Documents, including but not limited to communications, between the City and the UofC
       regarding the OPC.
      Documents, including but not limited to communications, between the City and the Park
       District regarding the OPC.
      Documents related to the terms and conditions under with Museums in Chicago are
       operated in other Chicago parks.
      Documents related to communications between the City and federal and state agencies
       reviewing the OPC Site.
      Documents requested in Plaintiffs’ First and Second Requests for Production in this case.
      Documents produced by Defendants
      Documents relating to design, creation, and dedication in trust of land to create and
       maintain Jackson Park.
      Documents related to identification of Jackson Park as a Historic Place.
      Document relating to Jackson Park zoning change.
      Documents related to necessity and decision to pursue the five step Jackson Park land
       transfers described in the City's 2015 Ordinance and 2018 Ordinance.

4.    For each of your claims or defenses, state the facts relevant to it and the legal theories
upon which it is based.

       The voluminous facts are set forth in the Complaint. To the extent necessary, Plaintiffs

incorporate all factual assertions alleged in the Complaint.

       In brief, Plaintiffs allege that (a) Jackson Park is owned by the taxpayers of Chicago and

Illinois, and the park real estate is public property held in trust for their benefit and use; (b) the

existence of Jackson Park has further been recognized and is listed on the National Register of

Historic Places; (c) Park District statutes, the U.S. and Illinois Constitutions, bar the summary



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transfer of dedicated public park property for the benefit and use of a nongovernmental entity for

99 years for $10.

       Count I of the Complaint alleges a cause of action for violation of due process. The

controlling law relating to transfer of valuable public park property to a non-government private

entity, and the statute most immediately applicable to this attempted “gifting” of control of

Jackson Park public parkland to the Obama Foundation, is the Park District Code, 70 ILCS

1205/10-7. It specifically provides, in relevant part:

       Any park district owning or holding any real estate is authorized to convey
       such property to a nongovernmental entity in exchange for other real property
       of substantially equal or greater value as determined by 2 appraisals of the
       property and of substantially the same or greater suitability for park purposes
       without additional cost to such district.

The Park District and City are effectively conveying the property at issue to the Foundation. The

Foundation will manage and control the property for at least 99 years, for almost no

consideration.

       The transaction at issue in the Complaint violates (1) Article VII, Section 10 of the 1970

Constitution of the State of Illinois; (2) the Intergovernmental Cooperation Act, 5 ILCS 220/1

et seq.,; and (3) the Local Government Property Transfer Act. 50 ILCS 605/0.01 et seq. Article

VII, Section 10 (a) of the Illinois Constitution provides that:

      Units of local government and school districts may contract or otherwise
      associate among themselves, with the State, with other states and their units of
      local government and school districts, and with the United States to obtain or
      share services and to exercise, combine, or transfer any power or function, in
      any manner not prohibited by law or by ordinance.
(Emphasis added)

       But the next following Article VIII, Section 1 (a) expressly provides that: “Public funds,

property or credit shall be used only for public purposes,” and the Park District Code, 70-

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1205/10-7, limits the transfer of public park real estate. The actions taken by the Defendants are

clearly “prohibited by law.”

       The Intergovernmental Cooperation Act provides:

      (d) The term "restriction" shall mean any condition, limitation, qualification,
      reversion, possibility of reversion, covenant, agreement or restraint of whatever
      kind or nature, the effect of which is to restrict the use or ownership of real estate
      by a municipality as defined in (c) above.” and Section 2(b) provides “If any such
      real estate shall be held by the transferor municipality subject to or limited by any
      restriction, and the transferee municipality shall desire the use, occupation or
      improvement thereof free from said restriction, the transferor municipality (or the
      transferee municipality, in the name of and for and on behalf of the transferor
      municipality .... shall have the “power to secure from its grantor, or grantors, their
      heirs, successors, assigns, or others, a release of any or all of such restrictions
      upon such terms as may be agreed upon between either of said municipalities and
      the person or persons entitled to the benefit of said restrictions. Upon the
      recording of any such release the transferor municipality shall then have the
      powers granted in paragraph (a) of this Section.
(Emphasis added)

       Jackson Park was dedicated to the people of the State of Illinois “as a public park . . . free

to all persons forever.” The Presidential Center is not a public park. The Presidential Center’s

museum will require admission tickets, and its parking garage will require fees. The private

Presidential Center will not at all times be free to all persons forever.

       Section 3 of the Intergovernmental Cooperation Act (5 ILCS 220/1), provides: “Any

power or powers, privileges, functions, or authority exercised or which may be exercised by a

public agency of this State may be exercised, combined, transferred, and enjoyed jointly with

any other public agency of this State and jointly with any public agency of any other state or of

the United States to the extent that laws of such other state or of the United States do not prohibit

joint exercise or enjoyment and except where specifically and expressly prohibited by law.”

       The issue with the Park District and the City’s scheme with respect to the Presidential

Center is that the City does not in any way propose to “exercise, combine, or enjoy jointly” the
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powers and duties of the Park District in preserving and protecting the open, clear and free public

park use of Jackson Park. The issue is Defendants’ defiance of the law and their prohibited act of

taking dedicated public park land to serve the interests of a non-governmental private entity for a

private use. Defendants Park District and City of Chicago make no serious pretense of acting

under the authority of this Act. Their conduct is patently a violation of the clear intent and

purpose of the Act and a denial of due process.

       The Local Government Property Transfer Act, 50 ILCS 605/0.01 et seq. (“Property

Transfer Act”), allows municipalities, including park districts, to transfer land to other

municipalities. The Property Transfer Act, however, does not allow the Park District to transfer

the Jackson Park Site to the City in order to permit the City to transfer possession and use to a

private non-governmental Foundation to construct, operate and control a constantly changing so

called “Presidential Center.”

       Section 2 of this Property Transfer Act provides as follows:

      If the territory of any municipality shall be wholly within, coextensive with, or
      partly within and partly without the corporate limits of any other municipality, or
      if the municipality is a school district and the territory of the school district is
      adjacent to the boundaries of any other school district, and the first mentioned
      municipality (herein called "transferee municipality"), shall by ordinance declare
      that it is necessary or convenient for it to use, occupy or improve any real estate
      held by the last mentioned municipality (herein called the "transferor
      municipality") in the making of any public improvement or for any public
      purpose, the corporate authorities of the transferor municipality shall have the
      power to transfer all of the right, title and interest held by it immediately prior to
      such transfer, in and to such real estate, whether located within or without either
      or both of said municipalities, to the transferee municipality upon such terms as
      may be agreed upon by the corporate authorities of both municipalities, in the
      manner and upon the conditions following:
(Emphasis added).




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       Pursuant to Section 2 of the Property Transfer Act, if a transferee municipality, such as

the City of Chicago, desires to obtain land from another “municipality,” a park district, the City

may obtain the property for “it [the City] to use, occupy or improve. . .”

       Here, it is not the City “using, occupying or improving” the Jackson Park site. Control

over the Jackson Park Site is being transferred to a nongovernmental private Foundation, and it

is the Foundation alone that will “use, occupy and improve” the Jackson Park site for a privately

determined purpose. Therefore, the Property Transfer Act does not allow the Park District to do

what it is prohibited from doing by law by the charade of transferring the Jackson Park site to the

City to perform the illegal act.

       The Park District is subject to another specific restriction on the use of the dedicated

public park property at issue.

       Section 2(b) of the Property Transfer Act, 50 ILCS 605/2(b), provides:

       (b) If any such real estate shall be held by the transferor municipality subject to or
       limited by any restriction, and the transferee municipality shall desire the use,
       occupation or improvement thereof free from said restriction, the transferor
       municipality (or the transferee municipality, in the name of and for and on behalf
       of the transferor municipality, but without subjecting the transferor municipality
       to any expense without the consent of its corporate authorities), shall have the
       power to secure from its grantor, or grantors, their heirs, successors, assigns, or
       others, a release of any or all of such restrictions upon such terms as may be
       agreed upon between either of said municipalities and the person or persons
       entitled to the benefit of said restrictions. Upon the recording of any such release
       the transferor municipality shall then have the powers granted in paragraph (a) of
       this Section.

       Therefore, if a transferor park district desires to transfer property limited by a restriction

to a transferee municipality, the park district may only do so with the agreement of both the

transferee municipality and “the person or persons entitled to the benefit of said restrictions.”

       The term “restriction” is defined in the Property Transfer Act as follows:

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      The term "restriction" shall mean any condition, limitation, qualification,
      reversion, possibility of reversion, covenant, agreement or restraint of whatever
      kind or nature, the effect of which is to restrict the use or ownership of real estate
      by a municipality as defined in (c) above.
50 ILCS 605/1(d).

       In the present case, Jackson Park was dedicated to the people of the State of Illinois “as a

public park . . . free to all persons forever.” The Presidential Center is not a public park. The

buildings that comprise the Presidential Center will not, on information and belief, at all times is

free to all persons forever.

       Count II alleges a cause of action for breach of the public trust doctrine. The Jackson

Park Site is owned by the Park District for a public use, specifically an open space public park.

       Under the public trust doctrine, the Park District holds the Jackson Park Site in trust for

the benefit of the residents of the City of Chicago and State of Illinois.

       The Park District and the City’s actions and contemplated actions as alleged herein would

cause the Jackson Park Site to be used for a purpose that is in conflict with its public use as an

open space park “free to all persons forever.”

       Further, the Park District and the City’s actions and threatened actions of transferring the

Jackson Park site from the Park District to the City, and the City then executing a long term

ground lease or use agreement for only nominal consideration, transfers the use and control of

the Jackson Park Site to the Foundation, which is a private non-governmental entity. The

Foundation will have control over public land for at least 99 years.

       The action to transfer use and control of this unique and priceless lakefront Jackson Park

public property site is an unconstitutional taking as there exists a significant amount of non-park,

non-public trust land, on which to beneficially locate a private Presidential Center. Locating the

Presidential Center on non-public, non-public park trust land would serve the identical
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foundation purposes and escape deliberately doing damage to historic Jackson Park. Defendants

are in breach of their duty to hold the Jackson Park site in trust for the people of the City of

Chicago and State of Illinois as the beneficial owners of such property. A transfer of public trust

Jackson Park Site to the Foundation as set forth in the contemplated long term ground lease,

violates the public interest needs and purposes for which Jackson Park Site is held in trust.

       The beneficiaries of the restriction on the use of Jackson Park as “a public park . . . free

to all persons forever” are the citizens of the State of Illinois. The Park District has never

obtained the agreement from the citizens of the State of Illinois to allow the transfer of the

Jackson Park site to the City of Chicago; and the unelected Commissioners of the Chicago Park

District are bound by their oath of office to preserve and protect the public park lands entrusted

to their care which they have sworn to do.

       The Illinois Park District Aquarium and Museum Act, 70 ILCS 1290/0.01 et seq. (“Park

District Museum Act”), which contains limited authorization for other uses of park district public

land in general only does not authorize the Park District to transfer public trust land to the City

of Chicago for the City to in turn transfer the property to a private entity on a long term ground

lease. The Museum Act does not release the existing statutory duty of the Park District or the

restrictions placed on Jackson Park or the Jackson Park Site that the property be maintained “as a

public park . . . free to all persons forever.” Further, the Park District Museum Act does not

supersede the public trust doctrine’s prior application to the Jackson Park site as alleged in this

Complaint.

       Further, proceeding with the transfer of the public trust Jackson Park site will take,

deprive or otherwise diminish the beneficial ownership interest of Plaintiffs and other citizens of

the City and State in the property without the required protective procedure and in violation of
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their rights in such property under the Due Process Clause of the Fourteenth Amendment of the

United States Constitution. The Defendants’ actions constitute an unlawful taking of the Jackson

Park site by the Defendants from the Plaintiffs and the people of the City of Chicago and the

State of Illinois in violation of the Takings Clause of the Fifth Amendment as incorporated into

the Due Process Clause of the Fourteenth Amendment of the United States Constitution.

       Count III alleges that the City and Park District’s action are ultra vires. The Park

District’s contemplated action of transferring the Jackson Park site to the City of Chicago for

$1.00, so that the City will then enter into a long term lease or use agreement with the

Foundation has not been authorized by the State of Illinois. The Park District therefore lacks

authority for the transaction.

       Count IV alleges that the Illinois Museum Act is inapplicable to the proposed Obama

Presidential Center. The 2016 Amendment to the Museum Act states on its face that it is not

retroactive.   The temporal reach of the 2016 Amendment states that the amendment is

“declaratory of existing law,” and therefore the substance of the 2016 Amendment cannot be

made retroactive.

       However, the 2016 Amendment is not declaratory of existing law. Existing law at the

time of the 2016 Amendment does not state allow aquariums and museums on formerly

submerged lands, does not allow undefined “edifices” for “presidential libraries and centers” on

park land, and does not allow the gifting of park land to private entities by allowing multiple 99

year leases or use of park land to a private entity – all of which were added in the 2016

Amendment to the Museum Act.




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       Count V contends that the 2016 Amendment to the Museum Act is unconstitutional

special legislation. The 2016 Amendment to the Museum Act provides, inter alia, that the

corporate authorities of cities and park districts are authorized to erect and maintain:

      edifices to be used as aquariums or as museums of art, industry, science, or
      natural or other history, including presidential libraries, centers, and
      museums, such aquariums and museums consisting of all facilities for their
      collections, exhibitions, programming, and associated initiatives, or to permit
      the directors or trustees of any corporation or society organized for the
      construction or maintenance and operation of an aquarium or museum as
      hereinabove described to erect, enlarge, ornament, build, rebuild, rehabilitate,
      improve, maintain, and operate its aquarium or museum within any public
      park now or hereafter under the control or supervision of any city or park district.
      ..
(Emphasis added)

       The 2016 Amendment to the Illinois Museum Act expressly allowing a “presidential

center” constitutes special legislation and is therefore unconstitutional. Article IV, Section 13 of

the Illinois Constitution provides: “The General Assembly shall pass no special or local law

when a general law is or can be made applicable.” If in fact “the changes made to this Section

are declaratory of existing law and shall not be construed as a new enactment” there was no need

for amendment. The fact that Defendant City of Chicago saw the need to do so is a judicial

admission that the 2016 Amendment is indeed special legislation.

       The 2016 Amendment to the Museum Act was specifically designed to benefit only one

entity – the private Obama Foundation (repeating language that tracks the language of the pre-

existing City Ordinance) and its plan to build what the Foundation originally called an official

“Presidential Library” and which is now ambiguously described as a “Presidential Center.”

       There can be little doubt that the Museum Act was specifically amended for the sole

purpose to retroactively allow the Presidential Center on Park District property. In fact, the City



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of Chicago’s legal department drafted the amendments to the Museum Act to specifically allow

for the continually changing so-called “Presidential Center.”

       City of Chicago’s Corporation Counsel, Stephen Patton, submitted a Statement of

Corporation Counsel Stephen R. Patton In Support of the Department of Law’s Proposed 2016

Budget (“Statement”) in support of the City of Chicago Law Departments proposed 2016 budget.

That Statement is dated October 9, 2015.

       The Statement expressly provides that the City of Chicago’s Department of Law drafted

the 2016 Amendment to the Museum Act to allow the Presidential Center. The City of Chicago’s

Statement states, in relevant part, as follows:


       A.      Helping to Secure the Barack Obama Presidential Center for Chicago

               In December 2014, the Barack Obama Foundation announced that the
               University of Chicago’s bid to host the Obama Presidential Center was in
               jeopardy because the University -- one of four finalists in the Foundation’s
               competition to host the library -- did not own or control either of the sites
               it proposed in Washington and Jackson Parks. The Foundation
               subsequently made clear that in order for the University’s bid to remain
               competitive, the City would need to develop a plan whereby it would
               acquire the sites in question and lease them to the Foundation. DOL
               attorneys worked over the Christmas and New Year holidays to research
               state law governing the use of park land and develop a plan and draft
               ordinances and an intergovernmental agreement whereby, if the
               University’s bid were selected, the Chicago Park District would exercise
               its authority to transfer park land to the City, and the City in turn would
               exercise its authority to lease the land to the Foundation.

               In January 2015, an ordinance was introduced authorizing the inter-
               governmental land transfer with the Chicago Park District, and that
               transfer was subsequently approved by the Chicago Plan Commission and
               the City Council after public hearings. Thereafter, DOL began negotiating
               the terms of a proposed ground lease and related transaction documents
               with the Obama Foundation to demonstrate the City’s commitment to the
               project. Finally, last spring, to resolve any questions about the legality of
               using park land for the presidential center, DOL drafted legislation
               amending the State’s Museum and Aquarium Act to expressly allow the

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               long-term lease of park land for the center, which was subsequently signed
               into law in May.

       The 2016 Amendment to the Museum Act will benefit only the Foundation. Further, the

legislation constitutes special legislation because it is arbitrary and uncertain in that it provides

for the inclusion on park district land of any structure without particularity that any unvetted

party could baldly contend is a “Presidential Center.”

       The 2016 Amendment to the Illinois Museum Act is therefore unconstitutional as special

legislation in violation of Article IV, Section 13 of the Illinois Constitution.

       Count VI alleges a first amendment violation. Former President Obama has made it

known that he intends to use his Center as a “bully pulpit” to continue his political activities by

raising money for the Democrat Party, endorsing individual candidates for election, speaking out

on controversial partisan political issues, and being outspoken in critiquing the actions of

succeeding presidents and elected members of Congress with whom he disagrees.

       There is, of course, no objection to former president Obama exercising all his First

Amendment Rights and using all the resources and facilities within his control. However, the

Museum Act, which provides for a “Presidential Library” or “museum” with a collection of Mr.

Obama’s political mementos in Jackson Park, also provides for a new real estate tax to be

imposed upon all City property owners for the specific purpose of supporting that Library or

Museum.

       Section 2 of the Museum Act states, in relevant part, that the Board of public park

commissioners may:

       levy annually a tax not to exceed .03 per cent in park districts of less than
       500,000 population and in districts of over 500,000 population not to exceed
       .15 percent of the full, fair cash value, as equalized or assessed by the
       Department of Revenue of taxable property embraced in said district, according to
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       the valuation of the same as made for the purpose of State and county taxation by
       the general assessment last preceding the time when such tax hereby authorized
       shall be levied: Such tax to be for the purpose of establishing, acquiring,
       completing, erecting, enlarging, ornamenting, building, rebuilding,
       rehabilitating, improving, operating, maintaining and caring for such
       aquarium and museum or museums and the buildings and grounds thereof;
       and the proceeds of such additional tax shall be kept as a separate fund. Said
       tax shall be in addition to all other taxes which such board of park
       commissioners is now or hereafter may be authorized to levy on the
       aggregate valuation of all taxable property within the park district. Said tax
       shall be levied and collected in like manner as the general taxes for such parks
       and shall not be included within any limitation of rate for general park
       purposes as now or hereafter provided by law but shall be excluded there from
       and be in addition thereto and in excess thereof.
(Emphasis added)
       The Obama Foundation will not pay real estate taxes. The effect of this special Obama

Center tax on the public is therefore to make individuals who politically disagree with Mr.

Obama on his political, environmental, or educational initiatives be nevertheless involuntarily

compelled to contribute money to enable him to successfully pursue all his personal political and

other initiatives and objectives. This is a denial of citizens own First Amendment rights of

speech and assembly, and an unconstitutional exercise of governmental power.


       5.     Provide a computation of each category of damages claimed by you, and a
description of the documents or other evidentiary material on which it is based, including
materials bearing on the nature and extent of the injuries suffered. You may produce the
documents or other evidentiary materials with your response instead of describing them.

       The monetary value of the loss of irreplaceable historic landmarked public park land is

incalculable; and if it is contended to be available under due process of law, Defendants Park

District and City have not even attempted to obtain an appraisal and determine a value as

required by Park District statute for a land transfer of benefit and use of dedicated public park

land to a nongovernmental entity, nor instituted a conventional land taking condemnation action.


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Absent a permanent injunction, the public interest damage to be experienced is irreparable.

Plaintiffs seek injunctive relief and declaratory relief. Specifically, Plaintiffs seek an Order:

A.     Enjoining the conveyance by Park District to the City of Chicago of the Jackson Park

       Site;

B.     Enjoining the Park District and the City of Chicago from approving or allowing the

       construction of the Presidential Center on the Jackson Park Site, public trust lands;

C.     Declaring that the purported conveyance of the Jackson Park Site to the City of Chicago

       invalid and without legal effect as an ultra vires act;

D.     Enjoining the long term ground lease or use agreement from the City to the Foundation of

       any property rights or interest in or control of the Jackson Park Site;

E.     Enjoining the Defendants from approving or allowing the Foundation to construct a

       museum and other structures, including but not limited to a library, forum, athletic center,

       parking garage and other structures on the Jackson Park Site;

F.     Declaring the Illinois Museum Act does not authorize the Presidential Center in the

       Jackson Park site;

G.     Declaring the 2016 Amendment to the Illinois Museum Act allowing undefined edifices

       constituting a presidential center is unconstitutional as special legislation; and

H.     Plaintiffs also seek an award of attorney’s fees and costs.

6.      Specifically identify and describe any insurance or other agreement under which an
insurance business or other person or entity may be liable to satisfy all or part of a possible
judgment in the action or to indemnify or reimburse a party for payments made by the party
to satisfy the judgment. You may produce a copy of the agreement with your response instead
of describing it.

 N/A



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Dated: November 21, 2018

                                                           Respectfully submitted,


                                                              /s/Mark D. Roth
                                                              Attorney for Plaintiffs




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                                     Certificate of Service

       I hereby certify that on November 21, 2018, a copy of the foregoing Plaintiff’s Initial

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